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VIA ELECTRONIC FILING

The Honorable Leonard P. Stark
U.S. District Court for the District of Delaware
844 North King Street
Wilmington, Delaware 19801

         Re: Crystallex International Corporation v. Bolivarian Republic of Venezuela et al.,
             C.A. No. 17-mc-151-LPS

Dear Chief Judge Stark:

On behalf of Crystallex, we write in response to the letter from the Intervenor Bondholders, filed
on May 9, 2021, requesting that the Court refrain from entering the Proposed Order Regarding
Special Master filed on the same date. See D.I. 261. Crystallex has no objection in principle to a
process in which the Special Master seeks input from parties such as the Intervenor Bondholders
(as they note, the Special Master provided a draft for comment but apparently received none). But
Crystallex does not believe this Court’s order contemplates that any creditor potentially affected
by Venezuela’s financial condition is to participate in the Special Master process. Nor would such
a cumbersome process be appropriate or practicable. Crystallex is the only judgment creditor of
Venezuela with a secured lien, and the execution sale that the Special Master process contemplates
is at Crystallex’s instance, for the exclusive purpose of satisfying Crystallex’s long-outstanding
judgment.

As the Court is fully aware, Crystallex has spent many years and countless resources seeking
payment on a fully adjudicated debt by Venezuela that the Republic refuses obstinately to pay.
This Court entered the sale order to right that wrong. The Special Master should be permitted to
move the sale process forward as expeditiously as practicable without undue interference by rival
creditors who, unlike Crystallex, are not the beneficiaries of that Order.

Other creditors of Venezuela that have been granted party status in this proceeding, such as the
Intervenor Bondholders, can of course offer their views, but their intervenor-party status does not
entitle them to structure the sale process, or participate in an execution sale being held solely to
pay a single debt—that owed by Venezuela to Crystallex. If the Intervenor Bondholders ultimately
obtain enforceable rights against the shares of PDVH—they have none at present and their current
litigation against PDVSA relates to the shares of CITGO Holding—the Intervenor Bondholders
could potentially enforce those rights only from whatever residue remains from the execution after
Crystallex’s judgment and costs have been fully satisfied and paid.

Non-party ConocoPhillips has participated in the discussions concerning the Special Master and
the sale process in part because it has offered to fund a proportionate one-third of the costs of the
execution sale, subject to the same expectation of potential recovery after Crystallex’s judgment
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is paid in full and ConocoPhillips’ rights are perfected If the Intervenor Bondholders wish to
participate in these discussions on comparable terms, they should be required to pay a
proportionate one-fourth of the costs of the Special Master and his advisers in designing and
implementing the ultimate sale.

                                                  Respectfully submitted,

                                                  /s/ Travis S. Hunter

                                                  Travis S. Hunter (#5350)


cc: All Counsel of Record
